 

Case 4:10-cv-00342 Document 1-5 Filed on 02/04/10 in TXSD Page 1 of 1

Maury De Bont

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Sem Ta Ener . Risk Manager
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Sempra Energy

Risk Management

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San Diego. CA 92101-3017

Tel: (619) 696-2057
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MDeBont@sempra.com

October 9, 2009

Greg Presswood

Executive General Adjuster

Vice President / Branch Manager
McLarens Young International
10235 W. Little York, Suite 170
Houston, TX 77040-3253

Loss: Hurricane Ike Claim — CAT#60
Location: Hackberry, LA
DOL: 09/13/2008

MY1 File No: 07.003119.MI

Dear Greg,

Pursuant to General Condition 11 of the Builder's Risk Policy for the Cameron LNG
Receiving Terminal, Sempra Energy, at our discretion as the designated Loss Payee,
has decided and hereby directs underwriters that any and all further payments under
this policy for claims made against the policy by Aker Kvaerner/IHI arising out of the
landfall of Hurricane Ike and the resultant damages to the Cameron LNG Facility shall
be paid directly to Aker Kvaerner/IHI. The claims of Aker Kvaerner/IHI should be
adjusted with Aker Kvaerner/IHI and the insurance proceeds checks should be made

payable only to Aker Kvaerner/IHI.

Best Regards, / YB LY)
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Maury De Bont

CC: M. Moreno
K. McDonnell

EXHIBIT

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